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                       1
                                                       UNITED STATES DISTRICT COURT
                       2                               SOUTHERN DISTRICT OF FLORIDA
                                                      CASE NO. 0:21-md-03015-SINGHAL/Valle
                       3

                       4    IN RE:                                                     MDL CASE NO.: 3015
                       5    JOHNSON & JOHNSON AEROSOL SUNSCREEN
                       6    MARKETING, SALES PRACTICES AND
                            PRODUCTS LIABILITY LITIGATION
                       7    ____________________________________________/

                       8
                            THIS DOCUMENT RELATES TO:                                  CIV. CASE NO.: 21-62174
                       9
                            GEORGE B. RAFAL, individually and on                       FIRST AMENDED CLASS
                  10        behalf of all those similarly situated                     ACTION COMPLAINT FOR
                                                                                       DAMAGES, RESTITUTION.
                  11
                                     Plaintiffs,                                       INJUNCTIVE AND EQUITABLE
                  12                                                                   RELIEF
                            v.
                  13
                            JOHNSON & JOHNSON
                  14        JOHNSON & JOHNSON CONSUMER, INC.,

                  15              Defendants.
                            ___________________________________________/
                  16

                  17
                                    Representative Plaintiff GEORGE RAFAL alleges as follows:
                  18
                                                                   INTRODUCTION
                  19

                  20             1. This is a class action brought by Representative Plaintiff GEORGE RAFAL on behalf of a

                  21        California class, and a national class, of all persons who purchased certain Johnson & Johnson
                  22        Neutrogena and/or Aveeno brand sunscreens which have now been recalled due to benzene-
                  23
                            contamination. These sunscreens are dangerous: they contain carcinogenic toxins which can cause
                  24
                            leukemia and other cancers with repeated exposure.
                  25
                                 2. The five affected products are Aveeno-branded Protect + Refresh aerosol sunscreen, and
                  26

                  27        four Neutrogena-branded sunscreen products: Beach Defense aerosol sunscreen, CoolDry Sport

                  28        aerosol sunscreen, Invisible Daily Defense aerosol sunscreen and UltraSheer aerosol sunscreen.
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                       1         3. On July 14, 2021, JOHNSON & JOHNSON CONSUMER, INC. (herein after JJCI) issued

                       2    a press release stating: “Johnson & Johnson Consumer Inc. (JJCI) is voluntarily recalling all lots
                       3    of five NEUTROGENA® and AVEENO® aerosol sunscreen product lines to the consumer level."
                       4
                                 4. The recall came nearly two months after independent online pharmacy Valisure, LLC
                       5
                            detected high levels of benzene in various sunscreen products, and on or around March 24, 2021
                       6
                            petitioned the U.S. Food and Drug Administration (FDA) to issue a regulation, revise industry
                       7

                       8    guidance, and take such other actions set forth therein including requesting recalls of the benzene-

                       9    contaminated products,1 Defendants’ products among them.

                  10             5. The two month delay by JJCI in failing to immediately recall the defective benzene-
                  11
                            contaminated sunscreen products upon proof and Notice by Valisure, LLC, spanned both major
                  12
                            holiday weekends of Memorial Day May 31st through July 4th Independence Day, coincided with
                  13
                            the end of the traditional school year and the lifting of Covid-19 related activity and travel
                  14
                            restrictions in several U.S. states, including California, with weeks of some of the hottest
                  15

                  16        temperatures on record across the United States – events which JJCI reasonably expected would

                  17        elevate consumer demand for, and sales of, sunscreen products, generating increased use of
                  18        Defendants’ contaminated products -- with corresponding increased exposure to the benzene
                  19
                            contamination, the risks of which were then-known to Defendants but intentionally not disclosed
                  20
                            by Defendants to the public, the purchasers, putative class members and consumers of its benzene-
                  21
                            contaminated sunscreen products.
                  22

                  23             6. On July 14, 3032, JJCI notified the Food and Drug Administration (FDA), acknowledging

                  24        that benzene contamination was confirmed after testing (by Defendants and an independent

                  25        laboratory) in the following products:
                  26                    a. Neutrogena Beach Defense aerosol sunscreen
                  27

                  28        1   Valisure Petition https://drive.google.com/file/d/1er68VcXHuLkIDP40nDZ2BHVWBrOBYOiO/view
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                       1                b. Neutrogena Cool Dry Sport aerosol sunscreen

                       2                c. Neutrogena Invisible Daily defense aerosol sunscreen
                       3                d. Neutrogena Ultra Sheer aerosol sunscreen
                       4
                                        e. Aveeno Protect + Refresh aerosol sunscreen.
                       5
                                 7. Benzene is a highly flammable chemical, a colorless or light-yellow liquid toxin at room
                       6
                            temperature, used "primarily as a solvent in the chemical and pharmaceutical industries." 2
                       7

                       8         8. According to the U.S. Centers for Disease Control and Prevention, benzene can damage

                       9    the immune system and prevent cells from functioning properly. It can cause leukemia and other
                  10        blood cancers with repeated exposure at high enough levels.3
                  11
                                 9. The FDA regulates sunscreens to ensure they meet safety and effectiveness standards. All
                  12
                            products that claim to provide Broad Spectrum SPF protection, including these five defective
                  13
                            products, are regulated as over-the-counter drugs, rather than as cosmetics. 21 C.F.R. § 352, et
                  14

                  15        seq. The FDA requires sunscreen manufacturers to subject their products to certain testing before

                  16        they are made available to any consumer. The FDA has also identified those materials that qualify

                  17        as acceptable active ingredients for products labeled as sunscreen. Benzene is not one of those
                  18        acceptable ingredients.
                  19
                                 10. A 2020 study by scientists at the FDA, which regulates sunscreens as cosmetic products,
                  20
                            found that some sunscreen ingredients are absorbed into the bloodstream. The FDA currently
                  21
                            recognizes the serious danger of benzene and lists it as a Class 1 solvent that “should not be
                  22

                  23        employed in the manufacture of drug substances, excipients, and drug products because of their

                  24

                  25
                            2   June 5, 2021, Elizabeth Elkind, CBS https://www.cbsnews.com/news/sunscreen-carcinogen-benzene/ .
                  26
                            3  Facts about Benzene https://emergency.cdc.gov/agent/benzene/basics/facts.asp (2018)
                  27        American Cancer Society. Benzene and Cancer Risk (January 5, 2016)
                            https://www.cancer.org/cancer/cancer-causes/benzene.html
                  28
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                       1    unacceptable toxicity.”4

                       2         11. The FDA’s regulations provide that an “over-the-counter sunscreen drug product in a form
                       3    suitable for topical administration is generally recognized as safe and effective and is not
                       4
                            misbranded if it meets” certain conditions. 21 C.F.R. § 352.1(a). Among other things, the product
                       5
                            must contain “only suitable inactive ingredients which are safe in the amounts administered” and
                       6
                            contain only listed active ingredients at a level “that does not exceed the amount reasonably
                       7

                       8    required to achieve its intended effect.” 21 C.F.R. § 330.1(h).

                       9         12. The National Institute for Occupational Safety and Health (“NIOSH”) recommends

                  10        protective equipment be worn by workers expecting to be exposed to benzene at concentrations of
                  11
                            0.1 ppm for over 10 hours and defines “inhalation, skin absorption, ingestion, skin and/or eye
                  12
                            contact” as exposure routes.5 Yet Valisure tested multiple JJCI sunscreen products that contain
                  13
                            levels of benzene more than 20 times this level – significantly surpassing 2 ppm. (fn.1, p.2)
                  14
                                 13. Recent studies by FDA researchers have shown that significant amounts of sunscreen
                  15

                  16        ingredients absorb through the skin and are found in the blood; specifically, over 400 times the

                  17        threshold for systemic carcinogenicity assessment for at least one sunscreen active ingredient.6
                  18             14. Indeed, benzene is one of the most studied and concerning human carcinogens known; its
                  19
                            association with forming blood cancers in humans has been shown in numerous studies.
                  20
                  21        4   FDA Q3C Tables and list guidance for Industry. https://www.fda.gov/media/71737/download
                  22
                            5  Centers for Disease Control and Prevention. The National Institute for Occupational Safety and Health
                  23        (NIOSH), Benzene (October 30, 2019) https://www.cdc.gov/niosh/npg/npgd0049.html
                            Centers for Disease Control and Prevention. NIOSH. Benzene: Systemic Agent (2011)
                  24        https://www.cdc.gov/niosh/ershdb/emergencyresponsecard_29750032.html

                  25        6  Matta, MK; et. al. (2019). Effect of Sunscreen Application Under Maximal Use Conditions on Plasma
                            Concentration of Sunscreen Active Ingredients A Randomized Clinical Trial. Journal of the American
                  26        Medical Association 2019;321(21):2082-2091 https://jamanetwork.com/journals/jama/fullarticle/2733085
                            Matta, MK; et. al. (2020). Effect of Sunscreen Application on Plasma Concentration of Sunscreen Active
                  27        Ingredients A Randomized Clinical Trial. Journal of the American Medical Association 2020;323(3):256-
                            267 https://jamanetwork.com/journals/jama/fullarticle/2759002
                  28
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                       1         15. All of the samples tested by Valisure7 “contained multiple times the maximum restricted

                       2    FDA concentration exposure limit of 2 parts per million” of benzene, (60 times the concentration
                       3    at which NIOSH recommends protective equipment be worn) according to Valisure’s website,8
                       4
                            while Neutrogena's Ultra Sheer Weightless Sunscreen Spray, SPF 100+ and Ultra Sheer
                       5
                            Weightless Sunscreen Spray, SPF 70 were among the products Valisure claims have some of the
                       6
                            highest levels of benzene tested.
                       7

                       8         16. Benzene’s effects vary by whether a person inadvertently inhales or ingests it or gets it on

                       9    skin and clothing. Symptoms range from dizziness and irregular heartbeat to convulsions and, at

                  10        very high levels, death. FDA findings show sunscreen active ingredients are absorbed into the
                  11
                            bloodstream even after a single use.9 A study by researchers at Health Canada’s Bureau of
                  12
                            Chemical Hazards has shown that the application of sunscreen specifically increases the
                  13
                            absorption rate of benzene through the skin. 10
                  14
                                 17. The clear evidence that benzene is associated with carcinogenic effects, specifically on
                  15

                  16        blood-related tissues in humans, makes this especially concerning for the health impact of

                  17        exposure to contaminated sunscreen products.
                  18             18. As such, the presence of this known human carcinogen in these JJCI sunscreen products,
                  19
                            marketed and recommended on their packaging for the prevention of cancer and, as such, were
                  20
                  21        7  Valisure operates an analytical laboratory accredited to International Organization for Standardization
                            (“ISO/IEC”) 17025:2017 standards for chemical testing. Valisure is registered with the Drug Enforcement
                  22
                            Administration (License # RV0484814) and FDA (FEI #: 3012063246). Valisure’s mission is to help
                  23        ensure the safety, quality and consistency of medications and supplements in the market.
                            https://drive.google.com/file/d/1er68VcXHuLkIDP40nDZ2BHVWBrOBYOiO/view
                  24
                            8   May 25, 2021 https://www.valisure.com/blog/valisure-news/valisure-detects-benzene-in-sunscreen/
                  25
                            9  Food and Drug Administration. Shedding More Light on Sunscreen Absorption (January 21, 2020)
                  26        https://www.fda.gov/news-events/fda-voices/shedding-more-light-sunscreen-absorption
                            10 J S Nakai 1, I Chu, A Li-Muller, R Aucoin. (1997). Effect of environmental conditions on the
                  27        penetration of benzene through human skin. Journal of Toxicology and Environmental Health. 1997 Aug
                            8;51(5):447-62. https://pubmed.ncbi.nlm.nih.gov/9233379/
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                       1    regularly used by putative class member adults, and children, is very troubling.

                       2         19. Beyond the significant concern for public health, there is also evidence that sunscreen
                       3    products, and benzene in particular, pose a serious risk to the environment, marine ecosystems,
                       4
                            and United States waterways. The FDA announced on May 12, 2021 a notice of intent to prepare
                       5
                            an Environmental Impact Statement for certain sunscreen drug products due to their potential
                       6
                            effects on coral and/or coral reefs. 11
                       7

                       8         20. Additionally, the National Oceanic and Atmospheric Administration (“NOAA”) published

                       9    reports and infographics in February 2021 intended to educate consumers regarding the potential

                  10        for sunscreen products to threaten corals and other marine life. 12
                  11
                                 21. Similarly, scientific papers published by NOAA have shown that benzene can be rapidly
                  12
                            absorbed by fish13 and short-term exposure (48 hr) to concentrations of benzene at parts per billion
                  13
                            levels can significantly reduce survival of certain fish eggs.14
                  14
                                 22. The FDCA prohibits the marketing of adulterated or misbranded cosmetics in interstate
                  15

                  16        commerce and specifies a product as adulterated if “it bears or contains any poisonous or

                  17        deleterious substance which may render it injurious to users under the conditions of use prescribed
                  18        in the labeling thereof, or under conditions of use as are customary and usual.”15
                  19

                  20        11  Food and Drug Administration. Environmental Impact Statement (EIS) for Certain Sunscreen Drug
                            Products (May 12, 2021) https://www.fda.gov/drugs/guidance-compliance-regulatory-
                  21        information/environmental-impact-statement-eis-certain-sunscreen-drug-products

                  22        12 National Oceanic and Atmospheric Administration. Skincare Chemicals and Coral Reefs (February 26,
                            2021) https://oceanservice.noaa.gov/news/sunscreen-corals.html
                  23

                  24
                            13 S Korn, N Hirsch, J W Struthsaker (1976). Uptake, Distribution, and Depuration of 14C-Benzene in
                            Northern Anchovy, Engraulis Mordax, and Striped Bass, Morone Saxatilis. Fishery Bulletin. 1976 March
                  25        Vol 74, No. 3: 545-51 https://spo.nmfs.noaa.gov/sites/default/files/pdf-content/1976/743/korn.pdf

                  26        14  J W Struthsaker (1977). Effects of Bezene (a toxic component of petroleum) on Spawning Pacific
                            Herring, Clupea Harengus Pallasi. Fisher Bulletin. 1977 Vol 75, No. 1: 43-49
                  27        https://spo.nmfs.noaa.gov/sites/default/files/pdf-content/1977/751/struhsaker.pdf
                  28        15   Food and Drug Administration (March 8, 2021). FDA Authority Over Cosmetics: How Cosmetics Are
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                       1         23. As alleged herein, these five JJCI benzene-laden sunscreen products are adulterated under

                       2    21 U.S.C. §351, and are misbranded under 21 U.S.C. §352.
                       3         24. Similarly, these five JJCI benzene-laden sunscreen products are adulterated under
                       4
                            California Health & Safety Code §111285 and §111260,16 and 111295.17
                       5
                                 25. Additionally, these five benzene-laden sunscreen products were also misbranded under
                       6
                            California Health & Safety Code §§111330 & 111340,18 §111400,19 and §111445.20
                       7

                       8         26. JJCI, as required by the Lanham Act, 15 U.S.C. §1051-1127, has at all times relevant

                       9    retained and bore a duty to exercise its rights to quality control over the design and manufacture of

                  10        the five affected products,21 so as to ensure that all goods bearing the JJCI trademark are of the
                  11
                            same quality.
                  12
                                 27. JJCI’s participation in the packaging design, marketing and distribution of these defective
                  13
                            sunscreen products far exceeded that of a mere passive holding company, including its
                  14
                            orchestration of the nearly two-month delay in announcing the current recall.
                  15

                  16

                  17        Not FDA-Approved, but Are FDA-Regulated https://www.fda.gov/cosmetics/cosmetics-laws-
                            regulations/fda-authority-over-cosmetics-how-cosmetics-are-not-fda-approved-are-fda-regulated
                  18

                  19
                            16   H&S §111285 “Any drug or device is adulterated if…its purity or quality is below, that which it is
                            represented to possess.” §111260 “Any drug or device is adulterated if the…controls used for its
                  20        manufacture…are not operated or administered …to assure that the drug or device…meets the quality and
                            purity characteristics that it purports or is represented to possess.”
                  21
                            17   H&S §111295 “It is unlawful for any person to manufacture…any drug or device that is adulterated.”
                  22
                            18  H&S §111330 “any drug or device is misbranded if its labeling is false or misleading in any particular”
                  23
                            §111340 “Any drug or device is misbranded unless it bears a label containing…(b) an accurate statement of
                  24        the…contents...”

                  25        19  H&S §111400 “Any drug or device is misbranded if it is dangerous to health when used in the dosage,
                            or with the frequency or duration prescribed, recommended, or suggested in its labeling.”
                  26
                            20   H&S §111445 “It is unlawful for any person to misbrand any drug or device.”
                  27
                            21 Beach Defense aerosol sunscreen, CoolDry Sport aerosol sunscreen, Invisible Daily Defense aerosol
                  28
                            sunscreen and UltraSheer aerosol sunscreen, and Aveeno Protect + Refresh aerosol sunscreen.
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                       1       28. Executives of JJCI collaborated in the development, manufacture and distribution of the

                       2    five defective products, which they purport only “in an abundance of caution” to be now recalling
                       3    due to the admitted presence of benzene in the samples tested and verified.
                       4
                               29. Because many of the sunscreen brands (competing with these five defective products) that
                       5
                            Valisure tested did not contain detectable levels of benzene, it is clear that benzene use is not
                       6
                            unavoidable for their manufacture, and considering the long history and widespread use of these
                       7

                       8    products, it also does not appear that they currently constitute a significant therapeutic advance;

                       9    therefore, any significant detection of benzene above 0.1 ppm should be deemed unacceptable.

                  10           30. JJCI sunscreens tested at levels as high as 60 times this concentration.
                  11
                               31. As a result of the benzene contamination in the five affected sunscreen products,
                  12
                            consumers who trusted the JJCI brand and counted on their skin care products to be safe and
                  13
                            protect their health, have literally been “burned” by exposing themselves to carcinogenic toxins in
                  14
                            the sunscreen they used as directed for protection from the risk of cancer.
                  15

                  16           32. Given the packaging representations and directions for use appearing on the product

                  17        containers to “spray liberally and…apply to all skin exposed,” many class members, including
                  18        Plaintiff, have continued to spend money purchasing multiple containers of the affected products
                  19
                            of the past months and years, unaware of the increased risk of benzene-induced cancers from using
                  20
                            the products in the dosage, manner, frequency and duration directed in the labeling.
                  21
                               33. Despite Defendants’ awareness of this pervasive risk of the products no later than May 24,
                  22

                  23        2021, Defendants failed entirely to warn consumers or any wholesalers or retailers in the chain of

                  24        distribution of this known danger until July 14, 2021.

                  25           34. Instead, Defendants have evidently chosen to maximize their profits and delay the costs of
                  26        immediately recalling the defective products they sold – at the expense of their trusting
                  27
                            customers being literally “burned” by unwittingly increasing their exposure to the benzene
                  28
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                       1    contamination in the five affected products. As another damaging result of Defendants’

                       2    misfeasance in distributing the contaminated products, and malfeasance in delaying the recall,
                       3    dangerous quantities of benzene-laden sunscreen has needlessly accumulated in lakes, rivers and
                       4
                            waterways throughout America, and the oceans, contributing to further environmental damages
                       5
                            while its otherwise improper manufacturing, packaging and transportation further contributed to
                       6
                            global warming and natural resource depletion.
                       7

                       8       35. Representative Plaintiff, on behalf of himself and all members of the class he seeks to

                       9    represent, seeks damages, interest thereon, restitution, injunctive and other equitable relief,

                  10        reasonable attorneys' fees and costs as a remedy for Defendants' dangerous, unlawful and/or
                  11
                            deceptive business practices, as detailed herein.
                  12
                                                                    JURISDICTION AND VENUE
                  13
                               36. On October 8, 2021, the United States Judicial Panel on Multidistrict Litigation ordered
                  14
                            Jurisdiction and Venue of this matter transferred to the Southern District of Florida, and assigned
                  15

                  16        to the Honorable Anuraag H. Singhal.

                  17
                                                                  REPRESENTATIVE PLAINTIFF
                  18
                               37. Plaintiff GEORGE RAFAL is an adult resident of the State of California, referred to in this
                  19

                  20        Complaint as the “Representative Plaintiff.”

                  21           38. Representative Plaintiff GEORGE RAFAL purchased JJCI Beach Defender numerous
                  22        times during the claim period, including, the following illustrative purchases for $5.99 and $7.99
                  23
                            each (plus sales tax at 8.75% or 9.75%) at T J Maxx retail stores in Contra Costa County,
                  24
                            California, within this judicial district, on March 14, 2021, April 3, 2021, April 26, 2021, and June
                  25
                            6, 2021, as documented in his purchase receipts.
                  26

                  27           39. When making these purchases, Representative Plaintiff GEORGE RAFAL reviewed the

                  28        accompanying labels and disclosures, and understood them as representations and warranties by
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                       1    the manufacturer that this sunscreen product was properly manufactured, free from defects, and

                       2    safe for its intended use. Representative Plaintiff GEORGE RAFAL relied on these
                       3    representations and warranties in deciding to purchase these products manufactured by JJCI and
                       4
                            these representations and warranties were part of the basis of the bargain – Plaintiff would not
                       5
                            have purchased these products if he had known that they were not, in fact, safe, properly
                       6
                            manufactured free from defects, unadulterated, and accurately labeled.
                       7

                       8       40. Prior to discovering the product defects summarized above, Representative Plaintiff

                       9    applied this product liberally to his skin as directed on the product packaging.

                  10           41. As a purchaser and user of these products, the Representative Plaintiff was damaged by
                  11
                            Defendants’ misfeasance and malfeasance, and acts of omission and commission, both
                  12
                            economically by his numerous purchases of the defective products, and by exposing himself to
                  13
                            benzene contamination as directed by Defendants on the product spray container (device) itself.
                  14
                               42. Additionally, upon discovering the defect in the five affected products, including Beach
                  15

                  16        Defender aerosol sunscreen, Representative Plaintiff has had the defect reported on his behalf and

                  17        on behalf of all class members to Defendants in writing in July 2021.
                  18           43. Representative Plaintiff is, and was at all times relevant herein, a member of the National
                  19
                            and California classes.
                  20
                               44. Representative Plaintiff brings this action on behalf of himself, and as a class action,
                  21
                            pursuant to Rule 23 of the Federal Rules of Civil Procedure, on behalf of all persons similarly
                  22

                  23        situated and proximately damaged by the unlawful conduct described herein.

                  24

                  25                                                  DEFENDANTS
                  26           45. JOHNSON & JOHNSON is a multinational corporation founded in 1886 that develops
                  27
                            consumer packaged goods, pharmaceuticals and medical devices. It is ranked No. 36 on the 2021
                  28
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                       1    Fortune 500 list of the largest United States corporations by total revenue. Having acquired

                       2    Neutrogena in 1994 and Aveeno in 1999, Johnson & Johnson touts itself as “the world’s largest
                       3    and most broadly based healthcare company.” 22 The corporation, headquartered at 1 Johnson &
                       4
                            Johnson Plaza in New Brunswick, New Jersey, includes some 250 subsidiary companies with
                       5
                            operations in 60 countries and products sold in over 175 countries. Johnson & Johnson had
                       6
                            worldwide sales of $82.6 billion during calendar year 2020.23
                       7

                       8         46. Johnson & Johnson and its affiliates, including JOHNSON & JOHNSON CONSUMER

                       9    INC. (JJCI), produces, markets and sells both Neutrogena-band products and certain Aveeno-

                  10        brand products under its “Skin-Health/Beauty” franchise within its “Consumer Health Segment,” 24
                  11
                            which generate, respectively approximately $4.5 billion and $14 billion in annual revenue. 25 The
                  12
                            “Consumer Heath Segment” of Johnson & Johnson’s business represents a substantial portion of
                  13
                            Johnson & Johnson’s revenue, eclipsing the $13.7 billion this Defendant paid in cash dividends
                  14
                            and common stock repurchases during 2020.26
                  15

                  16             47. According to court filings signed by Johnson & Johnson’s General Counsel, Prior to June

                  17        29, 2015, Johnson & Johnson’s operating companies included the Neutrogena Corporation and
                  18        Johnson & Johnson Consumer Companies, Inc. Neutrogena Corporation was a Delaware
                  19
                            corporation with its principal place of business in California. Johnson & Johnson Consumer
                  20
                            Companies, Inc. was a New Jersey corporation with its principal place of business in New Jersey.
                  21
                                 48. On June 29, 2015, certain of Johnson & Johnson’s operating companies, including both
                  22

                  23

                  24        22 https://www.jnj.com/about-jnj; https://www.bloomberg.com/profile/company/JNJ:US
                  25        23 https://www.prnewswire.com/news-releases/johnson--johnson-reports-2020-fourth-quarter-and-full-
                            year-results-301214853.html
                  26        24 Johnson & Johnson 2020 Annual Report filed on SEC Form 10-K for the period ended December 31,

                            2020, p. 1 (“Segments of the Business” – “Consumer Health”). https://www.investor.jnj.com/annual-
                  27        meeting-materials/2020-annual-report
                            25 Id. at page 21 (“Analysis of Sales by Business Segments”).
                  28        26 Id. at p. 44 JJCI and Subsidiaries – Consolidated States of Equity.
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                       1    Neutrogena Corporation and Johnson & Johnson Consumer Companies, Inc., underwent a multi-

                       2    step corporate restructuring. On that date, as relevant here, Neutrogena Corporation was converted
                       3    to a Delaware limited liability company known as Neutrogena, LLC. Next, a new Delaware
                       4
                            limited liability company known as Johnson & Johnson Consumer Companies, LLC was formed.
                       5
                               49. Thereafter, Johnson & Johnson Consumer Companies, Inc. merged into the newly formed
                       6
                            Johnson & Johnson Consumer Companies, LLC. (a New Jersey Corporation) with and into
                       7

                       8    Johnson & Johnson Consumer Companies, LLC (a Delaware Limited Liability Company).

                       9       50. Finally, both Neutrogena, LLC and Johnson & Johnson Consumer Companies, LLC,

                  10        merged into a pre-existing subsidiary of Johnson & Johnson known as McNeil- PPC, Inc., a New
                  11
                            Jersey corporation with its principal place of business in New Jersey.
                  12
                               51. Simultaneously, the name of McNeil-PPC, Inc. was changed to Johnson & Johnson
                  13
                            Consumer Inc. (“JJCI”), a named defendant herein.
                  14
                               52. Out of all of the entities involved in this series of transactions, the only surviving entity
                  15

                  16        was and is JJCI. At all times since June 29, 2015, and continuing to the present, JJCI has remained

                  17        a New Jersey corporation with its principal place of business in New Jersey.
                  18           53. As relevant herein, notwithstanding Defendant JJCI’s awareness of the benzene
                  19
                            contamination in the five defective products as early as May 24, 2021, Defendant JJCI proceeded
                  20
                            with the concept, design, manufacture, production, marketing, distribution and sales of these five
                  21
                            dangerously defective sunscreen products to consumers, and inducing consumers to purchase these
                  22

                  23        products, thereby violating the rights of Representative Plaintiff and all putative class members by

                  24        concealing this defect from consumers, to pocket the ill-gotten profits from their unfair business

                  25        practices, as detailed herein.
                  26                                             CLASS ACTION ALLEGATIONS
                  27
                               54. Representative Plaintiff brings this action pursuant to the provisions of Rules 23(a), (b)(2)
                  28
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                       1    and (b)(3) of the Federal Rules of Civil Procedure, on behalf of himself and all similarly situated

                       2    consumers, seeking certification on behalf of the following classes and class members:
                       3               a. National JJCI Sunscreen Class: “All retail consumers in the United States, its
                       4                  Territories and the District of Columbia, who purchased for personal use Aveeno
                                          Protect + Refresh aerosol sunscreen, and four Neutrogena sunscreen versions:
                       5                  Beach Defense aerosol sunscreen, CoolDry Sport aerosol sunscreen, Invisible Daily
                                          Defense aerosol sunscreen and/or UltraSheer aerosol sunscreen, during the relevant
                       6                  claim period.”
                       7               b. California JJCI Sunscreen Class: “All retail consumers who resided in the state of
                       8                  California and purchased for personal use Aveeno Protect + Refresh aerosol
                                          sunscreen, and four Neutrogena sunscreen versions: Beach Defense aerosol
                       9                  sunscreen, CoolDry Sport aerosol sunscreen, Invisible Daily Defense aerosol
                                          sunscreen and/or UltraSheer aerosol sunscreen, during the relevant claim period.”
                  10

                  11
                               55. Defendants, their officers, directors and employees, as well as the Judge(s) assigned to this
                  12
                            matter, the jury in this case and the members of their immediate families and Representative
                  13
                            Plaintiffs’ counsel’s law firm(s) are excluded from each of the Plaintiff classes.
                  14
                               56. This action has been brought and may properly be maintained as a class action under
                  15

                  16        Federal Rule of Civil Procedure Rule 23 because there is a well-defined community of interest in

                  17        the litigation, and membership in the proposed classes is easily ascertainable:
                  18                   c. Numerosity: A class action is the only available method for the fair and efficient
                  19
                                           adjudication of this controversy. The members of the Plaintiff classes are so
                  20
                                           numerous that joinder of all members is impractical, if not impossible.
                  21

                  22                       Representative Plaintiff is informed and believe and based thereon alleges that

                  23                       the number of class members is in the hundreds of thousands of individuals.
                  24                   d. Commonality: The Representative Plaintiff and the class members share a
                  25
                                           community of interests in that there are numerous common questions and issues
                  26
                                           of fact and law which predominate over questions and issues solely affecting
                  27

                  28                       individual members, including, but not necessarily limited to:
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                       1         i. Whether these five defective sunscreen products contained benzene;

                       2        ii. The date Defendants first became aware of the benzene contamination in
                       3            the five affected products;
                       4
                                iii. Whether Defendants had a duty to have disclosed to consumers the benzene
                       5
                                    contamination in the five affected products immediately upon Notice and
                       6
                                    awareness of the dangerously defective condition of these products;
                       7

                       8        iv. Whether Defendants’ failure to disclose the presence of benzene in the five

                       9            affected products until July 14, 2021 constitutes an actionable violation of

                  10                law;
                  11
                                 v. Whether Defendants’ manufacturing, marketing, distributing, and selling of
                  12
                                    the five affected products violates California’s Health & Safety Code
                  13
                                    §111285, §111260, §111295, §111330, §111340, §111400, and/or §111445;
                  14
                                vi. Whether Defendants engaged in fraud;
                  15

                  16           vii. Whether Defendants’ conduct and business practices violate the Consumer

                  17                Legal Remedies Acts(“CLRA”) California Civil Code §§1750, et seq.;
                  18           viii. Whether Defendants’ conduct and business practices violate the Unfair
                  19
                                    Competition Law (“UCL”) California Civil Code §§17200, et seq.;
                  20
                                ix. Whether Defendants breached any express or implied warranties;
                  21
                                 x. Whether Defendants’ conduct and business practices constituted deceptive
                  22

                  23                trade practices;

                  24            xi. Whether Defendants’ conduct constitutes a violation of public policy;

                  25           xii. The total number of each of the five affected products purchased by retail
                  26                consumers, in United States and in California alone, during the relevant
                  27
                                    claim periods;
                  28
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                       1         xiii. The identity of the major retailers in the chain of distribution of the five

                       2               affected products that tracked the identities and/or contact information of
                       3               consumers at the point of purchase during the relevant claim periods;
                       4
                                 xiv. The liability of Defendants for their participation in the chain of
                       5
                                       distribution, and the merits of any defenses to liability available to
                       6
                                       Defendants;
                       7

                       8          xv. The profits realized from consumers’ purchases of these five defective

                       9               benzene-contaminated products by the Defendants, both during the entire

                  10                   claim period, and particularly during the period of delay between
                  11
                                       Defendants’ notice and/or awareness of the presence of the benzene
                  12
                                       contamination in each of the five affected products, and July 14, 2019 when
                  13
                                       JJCI finally announced the recall;
                  14
                                 xvi. Whether Representative Plaintiff and class members are entitled to relief,
                  15

                  16                   the amount and nature of such relief, including injunctive relief and/or

                  17                   restitution.
                  18        e. Typicality: The Representative Plaintiff’s claims are typical of the claims of the
                  19
                               Plaintiff classes. Representative Plaintiff’s and all members of the Plaintiff classes
                  20
                               sustained economic damages arising out of and caused by Defendants’ common
                  21
                               course of conduct in violation of law, as alleged herein.
                  22

                  23        f. Adequacy of Representation: The Representative Plaintiff will fairly and

                  24           adequately represent the interests of each class, has the same interest in the

                  25           litigation of this case as class members, is committed to vigorous prosecution of
                  26           this case, and has retained competent counsel who is experienced in conducting
                  27
                               class action litigation of this nature. The Representative Plaintiff is not subject to
                  28
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                       1                   any individual defenses unique from those conceivably applicable to other class

                       2                   members or the classes in their entirety. The Representative Plaintiff anticipates no
                       3                   management difficulties in this litigation.
                       4
                                       g. Superiority of the Class Action procedure: Since the damages suffered by
                       5
                                           individual class members, while not inconsequential, may be relatively small, the
                       6
                                           expense and burden of individual litigation by each member makes or may make it
                       7

                       8                   impractical for members of the Plaintiff classes to seek redress individually for the

                       9                   wrongful conduct alleged herein. Should separate actions be brought or be required

                  10                       to be brought, by each individual member of the Plaintiff classes, the resulting
                  11
                                           multiplicity of lawsuits would cause undue hardship and expense for the Court and
                  12
                                           the litigants. The prosecution of separate actions would also create a risk of
                  13
                                           inconsistent rulings that might be dispositive of the interests of other class members
                  14
                                           who are not parties to the adjudications and/or may substantially impede their
                  15

                  16                       ability to adequately protect their interests.

                  17
                                                               COMMON FACTUAL ALLEGATIONS
                  18
                               57. Defendants placed into the stream of interstate, and indeed international, commerce the
                  19

                  20        five defective sunscreen products contaminated with benzene.

                  21           58. Notwithstanding Defendants’ awareness of the benzene contamination in the five defective
                  22        sunscreen products as early as May 24, 2021, Defendants proceeded with the concept, design,
                  23
                            manufacture, production, marketing, distribution and sales of the five dangerously defective
                  24
                            sunscreen products to consumers, and continued to induce consumers to purchase these products
                  25
                            during the highest sunscreen demand periods of the year, thereby violating the rights of
                  26

                  27        Representative Plaintiff and all putative class members by concealing this defect from consumers,

                  28        to pocket the ill-gotten profits from their unfair business practices, as detailed herein.
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                       1       59. On information and belief, millions of these defective products have been purchased by

                       2    consumers in California and throughout the United States within the relevant claim periods.
                       3       60. Consumers, including Representative Plaintiff and Plaintiff putative class members who
                       4
                            purchased the five benzene-contaminated products, reasonably relied on the goodwill of the JJCI
                       5
                            brands, including that of NEUTROGENA and AVEENO, and their representations that use of
                       6
                            these products in the manner prescribed was safe.
                       7

                       8       61. Despite the reasonable expectations of consumers, including Representative Plaintiff and

                       9    Plaintiff putative class members, Defendants knew and/or should have known--and yet refused to

                  10        timely disclose—that the five defective products were and are defective due the presence of
                  11
                            benzene therein.
                  12
                                                                   FIRST CLAIM FOR RELIEF
                  13                                        FRAUD/FRAUDULENT CONCEALMENT
                                                              (for the California and National Classes)
                  14
                               62. Representative Plaintiff incorporates in this cause of action every allegation of the
                  15

                  16        preceding paragraphs, with the same force and effect as though fully set forth herein.

                  17           63. Representative Plaintiff, on behalf of himself and all purchasers of the five benzene-
                  18        contaminated sunscreen products as described herein, allege that Defendants made false
                  19
                            statements of fact and specifically concealing the material fact that these five affected sunscreen
                  20
                            products were contaminated with benzene and unsafe to use as directed on the packaging.
                  21
                               64. Defendants knew that the concealment of this dangerous defect was material to the
                  22

                  23        consumer class members, and that the foregoing affirmative statements and material concealments

                  24        were false at the time they made them and concealed the true facts, that the statements and

                  25        material omissions were made to induce the Plaintiff and class members to purchase the five
                  26        benzene contaminated products, and to induce them to depend upon the brand loyalty Defendants
                  27
                            have cultivated, and that Representative Plaintiff and the Plaintiff putative class members were
                  28
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                       1    damaged when the five affected products were purchased and used as directed.

                       2       65. Representative Plaintiff, on behalf of himself and all purchasers of the five defective
                       3    products as described herein, alleges that Defendants through their marketing and through retailers
                       4
                            in their chain of distribution made or displayed false statements of fact (e.g. that these products
                       5
                            reduced the risk of cancer, and were safe to use as directed), that Defendants knew the statements
                       6
                            were false, that Defendants continued to manufacture, distribute, market, and sell these five
                       7

                       8    defective benzene-contaminated products, knowing they were indeed defective, and those actions

                       9    were taken to induce the Plaintiff and all those similarly situated (the Plaintiff putative class

                  10        members) to purchase these defective sunscreen products, and that Plaintiff and the Plaintiff
                  11
                            putative class members were damaged when these defective sunscreen products were purchased
                  12
                            and applied to their own bodies and the bodies of family members and loved ones.
                  13
                               66. At all relevant times herein, Defendants omitted and concealed the material facts as
                  14
                            specifically set forth above and/or made the specific misrepresentations of material facts set forth
                  15

                  16        above to the Representative Plaintiff and Plaintiff putative class members regarding the true nature

                  17        and scope of the dangerous benzene contamination inherent in the five defective products.
                  18        Defendants knew those material omissions and/or material misrepresentations of facts were false
                  19
                            or misleading when nondisclosed or made.
                  20
                               67. Defendants made these misrepresentations of material facts and concealed the material
                  21
                            facts alleged herein intentionally and/or recklessly, so as to induce reliance thereupon.
                  22

                  23           68. Representative Plaintiff and Plaintiff putative class members would have acted differently

                  24        had the falsity of the misrepresentations and/or omitted facts been disclosed to them. If these

                  25        defective products had been truthfully and accurately labeled, no consumer would have purchased
                  26        these benzene-contaminated products. Accordingly, Representative Plaintiff and the classes were
                  27
                            injured by the full purchase price of the five defective products.
                  28
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                       1        69. As a direct and proximate result of Defendants’ misrepresentation, concealment, and

                       2    suppression of the foregoing material facts, Representative Plaintiff and Plaintiff putative class
                       3    members have sustained economic damages by bearing the cost of repeatedly purchasing the five
                       4
                            benzene contaminated products, and personal injury by unknowingly exposing themselves to
                       5
                            benzene contamination consistent with and at the direction of Defendants’ product packaging.
                       6
                                70. The total amount of damages suffered by Representative Plaintiff and Plaintiff putative
                       7

                       8    class members will be proven at trial. Further, Representative Plaintiff and Plaintiff putative class

                       9    members are entitled to and hereby seek rescission, interest, costs of suit, attorneys' fees and/or

                  10        other relief the court deems appropriate.
                  11
                                71. Finally, at all times herein mentioned, Defendants intended to cause or acted with reckless
                  12
                            disregard of the probability of causing damage to Representative Plaintiff and Plaintiff putative
                  13
                            class members, and because Defendants are guilty of oppressive, fraudulent and/or malicious
                  14
                            conduct, Representative Plaintiff and Plaintiff putative class members are entitled to an award of
                  15

                  16        exemplary or punitive damages against Defendants in an amount adequate to deter such conduct in

                  17        the future.
                  18                                  SECOND CLAIM FOR RELIEF
                                          VIOLATION OF THE CONSUMERS LEGAL REMEDIES ACT
                  19
                                                    (California Civil Code §1750, et seq.)
                  20                                    (for the California Class Only)

                  21            72. Representative Plaintiff incorporates in this cause of action every allegation of the
                  22        preceding paragraphs, with the same force and effect as though fully set forth herein.
                  23
                                73. This claim for relief is brought pursuant to the CLRA (the Consumer Legal Remedies Act,
                  24
                            California Civil Code §§1750, et a1.). Representative Plaintiffs and the California putative class
                  25
                            members are "consumers," as that term is defined by Civil Code §1761(d) because they bought the
                  26

                  27        five benzene contaminated products, for personal, family, or household purposes.

                  28            74. Representative Plaintiff and the California putative class members have engaged in a
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                       1    “transaction” with the Defendants, as that term is defined by Civil Code §1761(e).

                       2       75. These Defendants’ conduct constitutes an unfair method of competition and unfair and
                       3    deceptive acts and practices under the CLRA, and were undertaken in transactions intended to
                       4
                            result in, and which in fact resulted in, the sale of goods to consumers – namely, to manufacture,
                       5
                            distribute and continue to sell the five defective benzene-contaminated products.
                       6
                               76. By engaging in the conduct alleged above, the Defendants violated California Civil Code
                       7

                       8    §1770 by, inter alia, misrepresenting and concealing the nature and scope of the benzene exposure

                       9    defect as Representative Plaintiff and California putative class members bore the cost of

                  10        purchasing these products and/or otherwise incurred damages through the use of these sunscreens.
                  11
                               77. By concealing the benzene contamination inherent in the five defective sunscreen products
                  12
                            from the Representative Plaintiff and the Plaintiff putative California class members, the
                  13
                            Defendants misrepresented that these five sunscreen products have particular characteristics, uses
                  14
                            and benefits or qualities, and are of a particular standard, quality or grade, in violation of Civil
                  15

                  16        Code §1770.

                  17           78. By engaging in the conduct alleged herein, the Defendants also advertised and have
                  18        continued to advertise goods with the intent not to sell them as advertised, in violation of
                  19
                            California Civil Code §1770(a)(9).
                  20
                               79. Pursuant to §1782 of the CLRA, written notices were sent to the Defendants regarding
                  21
                            their violations of the CLRA, thereby providing the Defendants with an opportunity to correct or
                  22

                  23        otherwise rectify the problems alleged herein within 30 days of that notice.

                  24           80. Representative Plaintiff, on behalf of himself and the Plaintiff putative California class,

                  25        now seeks this Court’s Order requiring the Defendants to, inter alia: (a) cease violating the CLRA
                  26        by immediately withdrawing from sale and accounting for all the affected sunscreen products not
                  27
                            yet sold to the consumers, (b) notify California putative class members that the five defective
                  28
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                       1    products contain benzene, and (c) provide California putative class members with reimbursement

                       2    for the retail purchase costs of each of the five defective products bought.
                       3

                       4                                           THIRD CLAIM FOR RELIEF
                                                         BREACH OF STATUTORY EXPRESS WARRANTY
                       5                                (Magnuson-Moss Warranty Act, 15 U.S.C. §2301, et seq.)
                                                               (for the California and National Classes)
                       6
                                   81. Representative Plaintiff incorporates in this cause of action every allegation of the
                       7

                       8    preceding paragraphs, with the same force and effect as though fully set forth herein.

                       9           82. Representative Plaintiff and the Plaintiff putative class members are “consumers” within

                  10        the meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. §2301(3).
                  11
                                   83. Defendants are “suppliers” and “warrantors” within the meaning of 15 U.S.C. §§2301(4)-
                  12
                            (5).
                  13
                                   84. Each of the five defective benzene-contaminated sunscreen products, are “consumer
                  14
                            products” within the meaning of 15 U.S.C. §§2301(1).
                  15

                  16               85. Defendants’ warranty is a “written warranty” within the meaning of 15 U.S.C. §§2301(6).

                  17               86. Defendants breached the warranty by, inter alia:
                  18                      a. Selling the five defective sunscreen products with inherently dangerous contents,
                                             i.e. benzene contamination subjecting the consumers to carcinogenic exposure and
                  19
                                             increased risk of cancer;
                  20
                                          b. Warranting that the five defective sunscreen products were “safe” and “if used as
                  21                         directed decreases the risk of cancer” despite knowledge that the defective
                                             sunscreens would, in fact, increase consumers’ exposure to benzene and increase
                  22                         the risk of cancer if used as directed.
                  23
                                   87. Defendants’ breach of warranty deprived Representative Plaintiff and millions of Plaintiff
                  24
                            putative class members of the benefits of their bargains.
                  25
                                   88. The amount in controversy in this action exceeds $50,000, exclusive of interest and costs.
                  26

                  27               89. There are more than 100 members each of the proposed classes/subclasses.

                  28               90. Defendants have had a reasonable opportunity to cure their breach of written warranty, and
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                       1    have failed to do so.

                       2       91. As a direct and proximate result of Defendants’ breach of express warranty, Representative
                       3    Plaintiff and the Plaintiff putative class members sustained damages and other losses in an amount
                       4
                            to be determined at trial.
                       5
                               92. Further, Representative Plaintiff and Plaintiff putative class members are entitled to and
                       6
                            hereby seek rescission, interest, costs of suit, attorneys’ fees and/or other relief the court deems
                       7

                       8    appropriate.

                       9                                          FOURTH CLAIM FOR RELIEF
                                                               BREACH OF EXPRESS WARRANTY
                  10                                           (for the California and National Classes)
                  11
                               93. Representative Plaintiff incorporates in this cause of action every allegation of the
                  12
                            preceding paragraphs, with the same force and effect as though fully set forth herein.
                  13
                               94. Defendants warranted that each of the five affected sunscreen products, was free of defects
                  14
                            when it sold these products to Representative Plaintiffs and class members.
                  15

                  16           95. This warranty became part of the basis of the bargain. Accordingly, Defendants’ warranty

                  17        is an express warranty.
                  18           96. Defendants breached this warranty by, inter alia:
                  19
                                       a. Knowingly concealing the material fact of the benzene contamination in the
                  20                      products, the use of which would increase the consumers’ carcinogenic exposure
                                          and risk of cancer, and
                  21
                                       b. Making the material misrepresentations of fact that the five defective products were
                  22                      safe to use, knowing that when applied as directed, use thereof would increase the
                  23                      consumers’ carcinogenic exposure and risk of cancer.

                  24           97. Defendants knew of this defect, and were put on explicit notice of the defects by Valisure

                  25        following its testing and the May 24, 2021 Petition to the FDA, but continued manufacturing,
                  26        distributing, marketing and retailing these five benzene-contaminate sunscreen products to
                  27
                            consumers.
                  28
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                       1        98. As a direct and proximate result of Defendants’ breach of express warranty, Representative

                       2    Plaintiff and Plaintiff putative class members sustained damages and losses in an amount to be
                       3    determined at trial. Further, Representative Plaintiff and Plaintiff putative class members are
                       4
                            entitled to and hereby seek rescission, interest, costs of suit, attorneys’ fees and/or other relief the
                       5
                            Court deems appropriate.
                       6

                       7                               FIFTH CLAIM FOR RELIEF
                       8      UNFAIR BUSINESS PRACTICES PURSUANT TO THE UNFAIR COMPETITION ACT
                                                        (for the California Class Only)
                       9
                                99. Representative Plaintiff incorporates in this cause of action every allegation of the
                  10
                            preceding paragraphs, with the same force and effect as though fully set forth herein.
                  11

                  12            100.        Representative Plaintiff and California putative class members bring this cause of

                  13        action, seeking equitable and statutory relief to stop the misconduct of Defendants, as complained

                  14        of herein, and seeking restitution from Defendants for the unfair, unlawful and fraudulent business
                  15
                            practices described herein.
                  16
                                101.        Defendants’ manufacturing, marketing, distributing and selling of these defective
                  17
                            products violates California’s Health & Safety Code §111285, §111260, §111295, §111330,
                  18
                            §111340, §111400, and §111445 (see footnotes 16-20 supra.).
                  19

                  20            102.        Representative Plaintiff and the other members of the putative classes had no way

                  21        of knowing that the defective products they bought were not actually as represented by
                  22        Defendants. Thus, they could not have reasonably avoided the injury each of them suffered.
                  23
                                103.        The knowing conduct of Defendants, as alleged herein, constitutes an unlawful
                  24
                            and/or fraudulent business practice, as set forth in California Business & Professions Code §§
                  25
                            17200-17208 (the "UCL"). Such violations include, but are not necessarily limited to fraudulent
                  26

                  27        and deceitful conduct and violations of California Civil Code §§ 1709-1711 and the Consumer

                  28        Legal Remedies Act, California Civil Code §§ 1770(a)(5), (a)(7), and (a)(9).
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                       1        104.        Defendants’ knowing violations of the UCL continues to this day.

                       2        105.        Defendants’ knowing failure to act in accordance with and/or adhere to these laws,
                       3    all of which are binding upon and burdensome to Defendants’ competitors, engenders an unfair
                       4
                            competitive advantage for Defendants, thereby constituting an unfair business practice, as set forth
                       5
                            in California Business & Professions Code §§ 17200-17208
                       6
                                106.        By engaging in these unlawful business practices, Defendants have enjoyed an
                       7

                       8    advantage over its competition and a resultant disadvantage to the public and California class

                       9    members for the entire four-year claim period set forth in Business & Professions Code §17208.

                  10            107.        Defendants’ knowing failure to adopt practices in accordance with and/or adhere to
                  11
                            these laws, all of which are binding upon and burdensome to Defendants’ competitors, engenders
                  12
                            an unfair competitive advantage for Defendants, thereby constituting an unfair business practice,
                  13
                            as set forth in California Business & Professions Code §§ 17200-17208.
                  14
                                108.        Defendants have clearly established a policy of accepting a certain amount of
                  15

                  16        collateral damage, as represented by the damages to Representative Plaintiff and California class

                  17        members herein alleged, as incidental to its business operations, rather than accept the alternative
                  18        costs of full compliance with fair, lawful and honest business practices ordinarily borne by
                  19
                            responsible competitors of Defendants and as set forth in legislation and the judicial record.
                  20
                                109.        The gravity of the consequences of Defendants’ conduct as described above
                  21
                            outweighs any justification, motive or reason therefore -- particularly considering the available
                  22

                  23        safe alternatives which exist in the marketplace -- such that is immoral, unethical, unscrupulous,

                  24        offends established public policy, and is substantially injurious to Plaintiffs and other members of

                  25        the putative class.
                  26            110.        Representative Plaintiff and California putative class members request that this
                  27
                            Court enter such orders or judgments as may be necessary to enjoin Defendants from continuing
                  28
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                       1    these unfair, unlawful, and/or deceptive practices and to restore to Representative Plaintiff and

                       2    California class members any money Defendants acquired by unfair competition, including
                       3    restitution and/or restitutionary disgorgement, as provided in California Business & Professions
                       4
                            Code § 17200, et seq., and for such other relief set forth below.
                       5

                       6                                  SIXTH CLAIM FOR RELIEF
                                   FALSE ADVERTISING – BUSINESS & PROFESSIONS CODE §17500-17509
                       7                            (for the Nationwide and California Classes)
                       8
                               111.        Representative Plaintiff incorporates in this cause of action every allegation of the
                       9
                            preceding paragraphs, with the same force and effect as though fully set forth herein.
                  10
                               112.        California Business and Professions Code §17500 states, in relevant part:
                  11

                  12           It is unlawful for any…corporation…with intent directly or indirectly to dispose of…personal
                               property…to induce the public to enter into any obligation relating thereto, to…disseminate..
                  13           before the public in this state…any advertising device, or…over the Internet, any statement,
                               concerning that …personal property…which is untrue or misleading, and which is known, or
                  14           which by the exercise of reasonable care should be known, to be untrue or misleading
                  15
                               113.        Defendants engaged in a scheme of advertising the five defective products
                  16
                            identified herein for sale to Representative Plaintiff and others similarly situated by way
                  17
                            commercial marketing.
                  18
                               114.        These marketing materials misrepresented or omitted the safety of the defective
                  19

                  20        products and the fact that they contain the dangerous carcinogen benzene. Said advertisements and

                  21        inducements originated and were made from the State of California and come within the definition
                  22        of advertising as defined in Business and Professions Code §17500, et seq. as such marketing
                  23
                            materials were intended as inducements to purchase the defective products and are statements
                  24
                            disseminated by Defendants to Representative Plaintiff and other members of the classes and were
                  25
                            intended to reach Plaintiffs and other class members.
                  26

                  27           115.        Defendants knew, or in the exercise of reasonable care should have known, that

                  28        these statements were untrue or misleading.
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                       1       116.        Consumers, including Representative Plaintiffs and other class members, were

                       2    among the intended targets of such representations and omissions and would reasonably be
                       3    deceived by such materials, and were so deceived.
                       4
                               117.        Defendants’ above acts, in disseminating deceptive and untrue statements from the
                       5
                            State of California and throughout the United States to consumers, were and are likely to deceive
                       6
                            reasonable consumers, including Representative Plaintiff and other class members, by obfuscating
                       7

                       8    the true nature of the defective products.

                       9       118.        Pursuant to Business and Professions Code §17535, Representative Plaintiff and all

                  10        members of the California and Nationwide classes are entitled to an order of this Court enjoining
                  11
                            Defendants from such future conduct, and such other orders and judgments necessary to disgorge
                  12
                            Defendants’ ill‐gotten gains and unjust enrichment, and restore to any and all persons in interest
                  13
                            any and all money paid for the defective products as a result of Defendants’ wrongful conduct.
                  14

                  15

                  16

                  17                                             REQUEST FOR RELIEF
                  18        WHEREFORE, the Representative Plaintiff, on behalf of himself and each member of the
                  19
                            proposed National and California classes, respectfully requests that this Court enter judgment in
                  20
                            Plaintiff’s favor and for the following specific relief against Defendants, and each of them, jointly
                  21
                            and separately, as follows:
                  22

                  23               1. That the Court declare, adjudge, and decree that this action is a proper class action

                  24        and certify each of the proposed classes and/or any other appropriate subclasses under F.R.C.P.

                  25        Rule 23 (b)(1), (b)(2), and/or (b)(3), including appointment of Representative Plaintiff’s counsel
                  26        as Class Counsel;
                  27
                                   2. For an award to Representative Plaintiff and members of both classes of compensatory
                  28
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                       1    and special damages in an amount to be proven at trial;

                       2              3. That Defendants be found to have made negligent and/or intentional misrepresentations
                       3    and/or material omissions of fact to the Representative Plaintiffs and members of both classes;
                       4
                                      4. [For the California class only]: That the Court enjoin Defendants, ordering them to
                       5
                            cease and desist from unlawful activities in further violation of California Business and
                       6
                            Professions Code § 17200, et seq.;
                       7

                       8              5. For equitable relief enjoining Defendants from engaging in the wrongful conduct alleged

                       9    herein;

                  10                  6. That the Court enjoin Defendants from engaging in their current “plausible deniability
                  11
                            cover” for the wrongful conduct alleged herein (i.e. using their websites and other publications to
                  12
                            promote misleading “denials” that dangerously contradict the warnings of the scientific
                  13
                            community that exposure to the levels of benzene detected in the five affected products is not safe
                  14
                            or de minimis, and that all cumulative exposures to benzene increases the consumer’s cancer risk.
                  15

                  16                  7. For interest on the amount of any and all economic losses, at the prevailing legal rate;

                  17                  8. For an award of punitive and/or exemplary damages, in an amount sufficient to deter
                  18        such conduct in the future;
                  19
                                      9. For an award of reasonable attorneys' fees;
                  20
                                      10. For costs of suit and any and all other such relief as the Court deems just and proper;
                  21
                                      11. For all other Orders, findings, and determinations identified and sought in this
                  22

                  23        Complaint.

                  24

                  25

                  26

                  27

                  28
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                       1

                       2

                       3                                               JURY DEMAND
                       4
                                    Representative Plaintiff and members of each of the Plaintiff classes hereby demand trial
                       5
                            by jury on all issues triable of right by jury.
                       6

                       7                                                      Respectfully submitted,
                       8
                       9
                            DATED: November 16, 2021                          By:
                  10
                                                                              TIMOTHY P. RUMBERGER, Esq.
                  11                                                          California State Bar #145984
                  12                                                          Counsel for Representative Plaintiff
                                                                              and Class Counsel for all putative Class Members
                  13
                                                                              LAW OFFICES OF TIMOTHY P. RUMBERGER
                  14                                                          1339 Bay Street, Alameda, California 94501
                                                                              Telephone: (510)841-5500
                  15                                                          Facsimile: (510)521-9700

                  16                                                          Counsel for Plaintiff George B. Rafal
                                                                              in Rafal v. Johnson & Johnson, et al.
                  17
                                                                              Case No. 0:21-cv-62174-SINGHAL/Valle
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